        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 1 of 67




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 DONNA CURLING, et al.,                    :
                                           :
       Plaintiffs,                         :
                                           :
 v.                                        :        CIVIL ACTION NO.
                                           :        1:17-cv-2989-AT
                                           :
 BRAD RAFFENSPERGER, et al.,               :
                                           :
       Defendants.                         :


                            OPINION AND ORDER

      This case requires the Court to consider whether Georgia’s practices and

procedures for administering voter access to the ballot at the polls

unconstitutionally impact the voting process and unduly burden the exercise of

qualified citizens to choose their elected representatives. The relief that the

Coalition Plaintiffs seek here is a limited common sense remedy to the real and

repetitive voting impediments Plaintiffs have experienced at the precinct threshold

and the substantial threat that they will face from these impediments anew in the

2020 general election if preliminary injunctive relief is not granted.

      In tandem with the Plaintiffs’ motions for injunctive relief seeking to bar the

State of Georgia from requiring the use of electronic ballot marking devices

(BMDs) for all in-person voters on election day, the Coalition Plaintiffs have filed

a stand-alone Motion for Preliminary Injunction on Paper Pollbook Backups [Doc.
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 2 of 67




800]. Although this separate motion seeks as a discrete measure of moderate relief

to order the Secretary of State to require the use of a paper backup of the electronic

pollbook to prevent voter disenfranchisement, the Court intended to deal with this

request for relief in an omnibus Order addressing all pending claims and relief

requests that the two groups of Plaintiffs lodge against the voting system. However,

in light of new evidence brought to light by Plaintiffs in the late evening hours on

Friday, September 25, 2020, that may impact the Court’s issuance of its decision

on these other issues, the Court enters this Order now to avoid delay and so the

State Defendants can begin preparations necessary to implement the relief

ordered below.

I.    Introduction and Overview

      The Coalition Plaintiffs’ Motion seeks to address dysfunctions in the voter

registration information database system as well as the pollbook voter check-in

system that they contend fundamentally impact the voting process and voter

access to the ballot. They argue that the same practices are continuing that the

Court previously made major critical findings about in its Order of August 15, 2019.

(Doc. 579 at 62-112.) Specifically, they contend that deficiencies in the voter

registration database system and pollbooks as well as their handling by State

Defendants effectively block or deter some voters from exercising their right to vote

or casting a vote without experiencing inordinate burdens. These alleged burdens

include: long waiting lines due to voting equipment and registration data record

related failures; voters being required to cast provisional ballots that may not

                                          2
         Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 3 of 67




ultimately “count” or voters’ exclusion from voting after they were incorrectly

advised (based on the flawed or non-updated voter registration data available in

the voter registration list or the pollbook) that they were not registered or were

registered at a different precinct. Plaintiffs allege that these type of major systemic

deficiencies continue to thwart and burden the voting process. Defendants admit

that the voter registration database (ENET), which is used by county registrars to

maintain and update voter registration records was not replaced and that

information from this system is what is loaded into the new electronic pollbooks

for each election.1 (Defs.’ Mot. to Dismiss, Doc. 645 at 11, n. 14; see also Dec. 6,

2019 Tr. at 11.)

       The Coalition Plaintiffs’ Motion for Preliminary Injunction on Paper

Pollbook Backups [Doc. 800] seeks to require the Secretary of State to direct

county election superintendents to use a paper backup of the electronic pollbook

at each precinct polling location that is updated after the close of absentee in-

person early voting to facilitate issuance of regular or emergency ballots on election

day.

        Given the complex findings and analysis already covered by the Court’s

review of several lengthy preliminary injunction motions and issuance of related

procedural orders over the last two years of intensive litigation, the Court refers

the reader to its earlier orders for a further overview of the course of proceedings,


1 Defendants represent that this voter information was been loaded in flat text files from the old
system and therefore was not contaminated by any malware. (Defs.’ Mot. to Dismiss, Doc. 645 at
11, n. 14; see also Dec. 6, 2019 Tr. at 11.)

                                                3
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 4 of 67




relevant legal context, rulings, and factual findings. (See, e.g., Doc. 309, September

17, 2018 Order (denying motion to dismiss and motion for preliminary injunction);

Doc. 579, August 15, 2019 Order (granting in part preliminary injunction motions);

Doc. 751, July 30, 2020 Order (granting in part and denying in part Defendants’

most recent motion to dismiss including new BMD claims); Doc. 768, August 7,

2020 Order (denying without prejudice Plaintiffs’ initial motions for preliminary

injunction, Docs. 619 and 540, that facially challenged the BMD system and were

filed in October, 2019, long prior to the 2020 election cycle, and summarizing case

history).

      Consequently, the Court notes that it has already addressed and rejected the

State Defendants’ renewed contention that Plaintiffs’ request for relief related to

pollbooks falls outside the bounds of the case as pled and presented to this Court.

(See, e.g., Order on Motion to Dismiss, Doc. 751 at 20-25; August 15, 2019 Order,

Doc. 579 at 88-89.) The relief measures requested by the Coalition Plaintiffs are

clearly associated with their contentions regarding the Defendants’ non-

implementation of some of the relief granted in the Court’s August 15, 2019 Order.

The Secretary of State still maintains the voter registration data system and its

multiple interfaces with other databases through its ENET system. Starting in the

summer of 2019, the Secretary of State’s Office assumed exclusive management

responsibility for day-to-day operations of the ENET system, in place of its

contractor. The State’s ENET system still feeds precinct level voter data and data

reports to the electronic pollbooks for poll workers’ use in voter check-in and

                                          4
         Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 5 of 67




approval and provision of access cards needed for ballot generation and voting

machine access.2 Similarly, Plaintiffs have repeatedly advocated in their amended

and supplemental complaints, motions, and briefs as well as at court hearings for

the relief addressed in the current motion before this Court.

II.    Legal Standards

       A.      Preliminary Injunction Standard

       A preliminary injunction is an “extraordinary remedy” designed to prevent

irreparable harm to the parties during the pendency of a lawsuit before a final

decision on the merits can be rendered. See Winter v. Nat. Res. Def. Council, 555

U.S. 7, 24 (2008). “A request for equitable relief invokes the district court’s

inherent equitable powers to order preliminary relief . . . in order to assure the

availability of permanent relief.” Levi Strauss & Co. v. Sunrise Int’l Trading Inc.,

51 F.3d 982, 987 (11th Cir. 1995); Federal Trade Comm’n v. United States Oil and

Gas Corp., 748 F.2d 1431, 1433–34 (11th Cir. 1984). To support a preliminary

injunction, Plaintiffs must present evidence that clearly establishes: (1) a

substantial likelihood of success on the merits on their claims; (2) a substantial

threat of irreparable injury if the injunction were not granted; (3) that the

threatened injury to the plaintiffs outweighs the harm an injunction may cause the


2 The State announced initially in July, 2019 that it would shift management of the ENET system
away from an outside vendor in-house to the Secretary of State’s office. The evidence Defendants
have now presented, primarily in two sealed declarations signed by David Hamilton, Chief
Information Officer for the Office of the Georgia Secretary of State (one signed on August 26, 2020
(Doc. 819-1) and one signed on September 4, 2020 (Doc. 862)), are inconsistent in
representations regarding actual specific concrete progress in addressing the security and
functionality of the software operation of this database, except as a planned imminent priority for
some time in the coming months.

                                                5
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 6 of 67




defendants; and (4) that granting the injunction would not be adverse to the public

interest. McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998). At

the preliminary injunction stage, a district court “need not find that the evidence

positively guarantees a final verdict in plaintiff’s favor,” and may rely on affidavits

and hearsay materials which would not be admissible evidence for a permanent

injunction, if the evidence is “appropriate given the character and objectives of the

injunctive proceeding.” Levi Strauss & Co., 51 F.3d at 985 (quoting Asseo v. Pan

American Grain Co., 805 F.2d 23, 26 (1st Cir. 1986)); McDonald’s Corp., 147 F.3d

at 1306 (11th Cir. 1998).

      Federal courts “possess broad discretion to fashion an equitable remedy.”

Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Engineers, 781 F.3d 1271,

1290 (11th Cir. 2015); Castle v. Sangamo Weston, Inc., 837 F.2d 1550, 1563 (11th

Cir. 1988) (“The decision whether to grant equitable relief, and, if granted, what

form it shall take, lies in the discretion of the district court.”).      “Crafting a

preliminary injunction is an exercise of discretion and judgment, often dependent

as much on the equities of a given case as the substance of the legal issues it

presents.” Trump v. Int’l Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017)

(per curiam); Kansas v. Nebraska, 574 U.S. 445, 456 (2015) (noting that a court of

equity may “‘mold each decree to the necessities of the particular case’ and ‘accord

full justice’ to all parties”). In formulating the appropriate remedy, “a court need

not grant the total relief sought by the applicant but may mold its decree to meet

the exigencies of the particular case.” Int’l Refugee Assistance Project, 137 S. Ct. at

                                          6
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 7 of 67




2087 (citation omitted). And the Supreme Court has repeatedly advised, “[w]hen

federal law is at issue and ‘the public interest is involved,’ a federal court’s

‘equitable powers assume an even broader and more flexible character than when

only a private controversy is at stake.’” Kansas v. Nebraska, 574 U.S. at 456 (citing

Porter v. Warner Holding Co., 328 U.S. 395, 398 (1946) and Virginian R. Co. v.

Railway Employees, 300 U.S. 515, 552 (1937)).

      B.     Standard for Challenging Constitutionality of State Election
             Laws/Systems

      When considering the constitutionality of an election law, the Court applies

the framework established by the Supreme Court in Anderson v. Celebrezze and

Burdick v. Takushi. Under this framework, referred to as the Anderson-Burdick

test, when deciding whether a state election law violates the due process rights

guaranteed by the Fourteenth Amendment, the Court must weigh the character

and magnitude of the burden the State’s rule imposes on those rights against the

interests the State contends justify that burden, and consider the extent to which

the State’s concerns make the burden necessary. Timmons v. Twin Cities Area

New Party, 520 U.S. 351, 358 (1997); Burdick v. Takushi, 504 U.S. 428 (1992);

Anderson v. Celebrezze, 460 U.S. 780 (1983). “[T]he level of the scrutiny to which

election laws are subject varies with the burden they impose on constitutionally

protected rights.” Stein v. Alabama Sec’y of State, 774 F.3d 689, 694 (11th Cir.

2014). A law that severely burdens the right to vote must be narrowly drawn to

serve a compelling state interest. Burdick, 504 U.S. at 434; Democratic Exec.

Comm. of Florida v. Lee, 915 F.3d 1312, 1318 (11th Cir. 2019). But “reasonable,
                                         7
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 8 of 67




nondiscriminatory restrictions” that impose a minimal burden may be warranted

by “the State’s important regulatory interests.” Common Cause/Ga. v. Billups, 554

F.3d 1340, 1352 (11th Cir. 2009) (citing Anderson, 460 U.S. at 788). “And even

when a law imposes only a slight burden on the right to vote, relevant and

legitimate interests of sufficient weight still must justify that burden.” Lee, 915 F.3d

at 1318-19; Billups, 554 F.3d at 1352.

III.   Discussion

       The Coalition Plaintiffs move for a preliminary injunction order requiring

State Defendants to provide each precinct polling location a paper backup of the

pollbooks for voter check-in in the event of disruption of the electronic pollbook

during in-person voting on election day. In its August 15, 2019 Order, this Court

previously ordered the State Defendants, among other things, to: (1) develop and

implement procedures to be undertaken by election officials to address errors and

discrepancies in the voter registration database; and (2) require all County

Election Offices to furnish each precinct location with at least one printout of the

voter registration list for that precinct. The Court ordered this relief after Plaintiffs

presented evidence that the Defendants’ administration of a vulnerable and

compromised voter registration database and inaccurate voter registration express

pollbook voting check-in had substantially burdened voters’ exercise of their right

to cast votes. The Court further found that the State’s adoption of a new electronic

pollbook for voter check-in for use with the State’s legacy voter registration




                                           8
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 9 of 67




software and database would not by itself remedy these demonstrated problems or

alleviate the imminent threat to voters’ exercise of their right to vote.

      In their current motion, the Coalition Plaintiffs request modification of this

Court’s August 15, 2019 Order. Specifically, the Motion requests that the Court

order the Secretary of State to direct every county election superintendent:

      (1) to provide at each polling place at least one paper back-up of the pollbook

for use on Election Day, which paper back-up shall be updated after the close of

absentee in-person voting (early voting);

      (2) to use the paper back-up of the pollbook in the polling place to attempt

to adjudicate voter eligibility and precinct assignment;

      (3) to allow voters who are shown to be eligible electors on the paper

pollbook backups to cast an emergency ballot that is not to be treated as a

provisional ballot; and,

      (4) to take every reasonable measure to ensure that county election officials

and poll workers are trained as to how to generate and use paper pollbook backups

and emergency ballots in conformity with this Order.

      Coalition Plaintiffs do not, as Defendants suggest, seek to bar the use of

electronic pollbooks. (See Resp., Doc. 815 at 18-19.) They request the use of an

updated paper pollbook backup at each precinct polling place, rather than the voter

registration list, because the voter registration list provided as the backup at the

precinct level under the existing practices is not updated to reflect all early or

absentee mail ballot voting. As a result, the Coalition Plaintiffs assert that a voter

                                          9
           Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 10 of 67




registration list does not serve as a backup to malfunctioning or non-operational

electronic pollbooks (due to any of a host of reasons) for the purpose of issuing

regular or emergency ballots on election day. And although the State Election

Board adopted a regulation providing for a paper backup list in February 2020 in

connection with an emergency voting regulation, the Coalition Plaintiffs assert that

the regulations are incomplete, are not followed, and ultimately do not address the

basic “debilitating impact of a repeated system failure to provide each precinct with

an updated paper pollbook that can be used when the electronics malfunction.”

(Coalition Pls.’ Br. Supp. Mot., Doc. 800-1 at 3.)

          State Defendants oppose Plaintiffs’ motion and assert that no injunctive

relief is necessary because: (a) the Secretary already provides a paper backup of

the electors list for use in each precinct which includes a voter’s precinct

assignment;3 and (b) updated voter information is included in the electronic

pollbooks after early voting.4 But this position does not address Plaintiffs’ concern

and the evidence presented of widespread malfunctions and failures in operational

use of the electronic pollbooks on election day. State Defendants further assert

that “[e]ven if an updated electors list could be printed by precinct and delivered

to the counties in three days between the end of early voting and election day, a

paper printout of the updated electors list would not account for every voter’s

status, as absentee ballots are continuously being returned” therefore “an updated



3   Resp. at 21-22, citing O.C.G.A. § 21-2-224(f).
4   Resp. at 21-22, citing O.C.G.A. § 21-2-401(b).

                                                     10
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 11 of 67




electors list could not adjudicate voter eligibility in all situations.” (Resp. at 24.)

Finally, Defendants contend that requiring the Secretary to provide an updated

and reconciled paper pollbook backup would be administratively burdensome and

costly, and would require county election officials to train poll workers “on an

entirely new protocol with only weeks to go before the election.” Id. Resp. at 24.

       The Court discusses below first the background electoral system information

that surrounds the issues in dispute here and then Plaintiffs evidentiary showing

as to the basis for their claims for relief.

       A.      Georgia’s Election Requirements Relating to Electors List
               and Pollbooks and Emergency Procedures When Use of
               Electronic Voting Equipment is Impossible or Impractical

        Georgia’s Election Code provides that “[e]ach elector who makes timely

application for registration, is found eligible by the board of registrars and placed

on the official list of electors, and is not subsequently found to be disqualified to

vote shall be entitled to vote in any primary or election.” O.C.G.A. § 21-2-224(d)

(emphasis added). Voters whose names are not found on the official electors list

for a precinct are generally prohibited from voting under Georgia’s Election Code.5




5 The Georgia Election Code provides that individuals whose names do not appear on the list of
registered electors should be allowed to cast provisional ballots and have their votes counted if
they later prove their eligibility. O.C.G.A. §§ 21-2-418, 419. This statutory provision was enacted
to fulfill the state’s obligations under the Help America Vote Act (“HAVA”), 52 U.S.C. §
21083(a)(1)(A). Consistent with HAVA, Georgia is required to implement a single centralized,
computerized, statewide voter registration list containing the name and registration information
of every legally registered voter in the State. 52 U.S.C. § 21083(a)(1)(A). “ENET” is the statewide
digital data record of voter registrations used in Georgia. This database system is also supposed
to be regularly updated to reflect voting status for use in electronic pollbooks. Poll workers access
the pollbooks to verify voters’ registration and voting status and to generate a voter access card
that activates the specific electronic ballot linked to the voter’s residence address.

                                                 11
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 12 of 67




See O.C.G.A. § 21-2-224(g) (“No person whose name does not appear on the official

list of electors shall vote or be allowed to vote at any election, except as otherwise

provided in this article.”); O.C.G.A. § 21-2-224(h) (“All persons whose names

appear on the list of electors placed in the possession of the managers in each

precinct and no others, except as otherwise provided in this article, shall be allowed

to deposit their ballots according to law at the precinct in which they are

registered.”) (emphasis added). Under these provisions, inaccuracies in the official

electors list may result in the denial of eligible and qualified voters’ rights to cast a

ballot and have their vote counted.

       “The official list of electors eligible to vote in any primary or election shall

be prepared and completed at least five calendar days prior to the date of the

primary or election in which the list is to be used.” O.C.G.A. § 21-2-224(f).6 The

electors list “prepared and distributed to the poll officers of each precinct shall

include only the elector’s name, address, ZIP Code, date of birth, voter

identification number . . . congressional district, state Senate district, state House

district, county commission district, if any, county or independent board of

education district, if any, and municipal governing authority district designations,

if any, and such other voting districts, if any.” O.C.G.A. § 21-2-224(g) (emphasis

added). Under the statute, the official electors list “prepared and distributed to the

poll officers of each precinct may also include codes designating that an elector


6 The Election Code also provides that an official list of inactive electors be prepared and
distributed to the poll officers of each precinct. See O.C.G.A. § 21-2-224(g); O.C.G.A. § 21-2-
401(b).

                                              12
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 13 of 67




has voted by absentee ballot.” Id. (emphasis added). And O.C.G.A. § 21-2-401(b)

requires that “[t]he registrars shall, prior to the hour appointed for opening the

polls, place in the possession of the managers in each precinct one copy of the

certified electors list for such precinct, such list to contain all the information

required by law. The list shall indicate the name of any elector who has been

mailed or delivered an absentee ballot.” (emphasis added).

      The State Election Board’s regulation on the pollbooks and paper backup,

adopted on February 12, 2020, provides:

      Election superintendents shall cause each polling place to be equipped
      with an appropriate number of electronic poll books within the county
      during primaries, elections, and runoffs. Electronic poll books shall be
      the primary method for checking in voters and creating voter access
      cards, but the superintendent shall cause every polling place to be
      equipped with a paper backup list of every registered voter assigned
      to that polling place. The paper backup list shall be used in case the
      electronic poll books do not properly function. The superintendent
      shall cause poll workers to be adequately trained in checking in voters
      on both electronic poll books and paper backup list.

Ga. Comp. R. & Regs. 183-1-12-.19(1). The regulation requires that “[p]rior to

delivery to a polling place, the election superintendent or registrars shall cause the

electronic poll books to accurately mark all persons who have been issued or cast

absentee ballots in the election.” Ga. Comp. R. & Regs. 183-1-12-.19(8) (emphasis

added). And, “[f]or electors whose names are added to the voter registration rolls

after the preparation of the electronic poll books, the registrars shall provide a

printed supplemental list for use at the affected polling places.” Ga. Comp. R. &

Regs. 183-1-12-.19(10) (emphasis added).


                                         13
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 14 of 67




      Georgia’s Election Code also provides for the implementation of emergency

procedures in the event of electronic equipment failure or malfunction or where

the use of such equipment is not feasible under certain circumstances. Under

O.C.G.A. 21-2-281, allowing for the use of paper ballots where the use of voting

equipment is impossible or impracticable, the statute provides “[i]n any primary

or election in which the use of voting equipment is impossible or impracticable, for

the reasons set out in Code Section 21-2-334, the primary or election may be

conducted by paper ballot in the manner provided in Code Section 21-2-334.”

O.C.G.A. § 21-2-334 in turn provides:

      If a method of nomination or election for any candidate or office, or of
      voting on any question is prescribed by law, in which the use of voting
      machines is not possible or practicable, or in case, at any primary or
      election, the number of candidates seeking nomination or nominated
      for any office renders the use of voting machines for such office at such
      primary or election impracticable, or if, for any other reason, at any
      primary or election the use of voting machines wholly or in part is not
      practicable, the superintendent may arrange to have the voting for
      such candidates or offices or for such questions conducted by paper
      ballots. In such cases, paper ballots shall be printed for such
      candidates, offices, or questions, and the primary or election shall be
      conducted by the poll officers, and the ballots shall be counted and
      return thereof made in the manner required by law for such
      nominations, offices, or questions, insofar as paper ballots are used.

      To facilitate the purpose of these statutory provisions, the State Election

Board adopted the following regulation outlining procedures for election

superintendents to implement in the event of an emergency requiring the use of

paper ballots:

      If an emergency situation makes utilizing the electronic ballot
      markers impossible or impracticable, as determined by the election

                                         14
      Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 15 of 67




      superintendent, the poll officer shall issue the voter an emergency
      paper ballot that is to be filled out with a pen after verifying the
      identity of the voter and that the person is a registered voter of the
      precinct. Emergency paper ballots shall not be treated as provisional
      ballots, but instead shall be placed into the scanner in the same
      manner that printed ballots in the polling place are scanned. The
      election superintendent shall cause each polling place to have a
      sufficient amount of emergency paper ballots so that voting may
      continue uninterrupted if emergency circumstances render the
      electronic ballot markers or printers unusable. For any primary or
      general election for which a state or federal candidate is on the ballot,
      a sufficient amount of emergency paper ballots shall be at least 10%
      of the number of registered voters to a polling place. The poll manager
      shall store all emergency ballots in a secure manner and ensure that
      all used and unused emergency ballots are accounted for. All unused
      emergency ballots shall be placed into a secure envelope and sealed
      such that the envelope cannot be opened without breaking such seal.

      If an emergency situation exists that makes voting on the electronic
      ballot markers impossible or impracticable, the poll manager shall
      alert the election superintendent as soon as possible. The existence of
      an emergency situation shall be in the discretion of the election
      supervisor. However, if a poll manager is unable to contact the
      election superintendent after diligent effort, the poll manager shall
      have the ability to declare that an emergency situation exists at the
      polling place. The poll manager shall continue diligent efforts to
      contact the election superintendent, and shall inform the
      superintendent as soon as possible of the situation at the polling place.
      The election superintendent, in his or her discretion, shall either
      overrule or concur with the declaration of emergency circumstances.
      While the determination of an emergency situation is in the discretion
      of the election superintendent, the types of events that may be
      considered emergencies are power outages, malfunctions causing a
      sufficient number of electronic ballot markers to be unavailable for
      use, or waiting times longer than 30 minutes.

Ga. R. & R. 183-1-12.11(2)(c)&(d). The Secretary of State’s Office sent out the

following guidance to election superintendents explaining the emergency

procedures:



                                         15
Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 16 of 67




                              16
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 17 of 67




      B.     Testimony of Secretary of State’s Director of Elections

      In response to the Coalition Plaintiffs’ Motion, the State Defendants rely on

the declaration testimony of the Secretary of State’s Director of Elections, Chris

Harvey, who has “more than a decade [of] acquired firsthand knowledge of

Georgia’s election processes at both the state and county level.” (Harvey Decl.,

Doc. 815-1 ¶ 2.) As mandated by Georgia law, the Secretary of State’s Office

provides each county with a paper copy of the official electors list by precinct,

which includes the name, address, and district combination information for each

voter assigned to a precinct. (Id. ¶ 3.) According to Harvey, “[i]f the electors list is

pulled after a voter has requested a mail-in absentee ballot or the voter has voted

absentee, either by mail or in-person early voting, the electors list will include a

notation indicating that the voter has voted absentee or requested a mail-in

absentee ballot.” (Id.)

      The Secretary of State’s Office contracts with an outside vendor to print the

paper copy of the electors list. (Id. ¶ 4.) There is no established date for when the

electors list is printed for each election. Rather, “[t]he electors lists are ordered by

the liaison for their county, usually starting the Friday after the voter registration

deadline, and each list is ordered individually.” (Id.) According to Harvey,

“[l]arger counties are usually printed last – sometimes not until the week before

the election to give the counties as much time as possible to enter any remaining

eligible voter registrations.” (Id.) In addition, the Friday prior to the date of the

election, the Secretary of State’s Office “generates” a “supplemental list” that

                                          17
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 18 of 67




contains the information for “voters added to ENET between the time when the

electors list is initially pulled for an election and the date the supplemental list is

pulled.” (Id. ¶ 5.) The “supplemental list is generated in ENET and the counties

are able to print those lists and distribute them to the polling places.” (Id.)

       Prior to the opening of the polls on election day, county registrars are

required to provide poll managers in each precinct with a copy of the electors list

– which is in practice the electronic pollbooks. (Id. ¶¶ 8-9.) The list in the

electronic pollbook is “updated after the close of early voting with current voter

information, including whether voters have outstanding mail-in absentee ballots

and whether those ballots have been returned or the voter voted in person during

early voting.”7 (Id. ¶ 9.) According to Harvey, “[i]f a voter is not located in the

electronic pollbook or an electronic pollbook is malfunctioning for any reason, the

paper copy of the official electors list can be used to determine whether a voter is

assigned to the precinct and polling location.” (Id. ¶ 7.)

       ENET includes information about absentee voting, including whether a

voter has requested a mail-in absentee ballot but not returned it, whether a voter

has returned a mail-in absentee ballot, whether the mail-in absentee ballot was

accepted or rejected, and whether a voter voted in-person during early voting. (Id.

¶ 12.) Harvey states that, “[w]hen a voter requests an absentee ballot but then

appears at the polls on Election Day without their ballot in hand, the poll official



7 Voters who vote in person at the polls during the early voting period use the electronic voting
system in Georgia but are still designated as having cast an absentee ballot.

                                               18
         Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 19 of 67




should check with the registrar to ensure that no absentee ballot has been accepted

for that voter prior to having the voter execute a cancellation affidavit and then

vote using the BMD.” (Id. ¶ 13.) According to Harvey, “[t]hat process applies

whether the voter is checked in using the PollPad8 or a paper list.”9 (Id.) However,

he also attests that “[e]lectronic pollbooks allow counties to receive updated

information from the electors list after the close of early voting during the three

days prior to Election Day.” (Id. ¶ 16.)

       At the public hearing before this Court on September 11, 2020, Mr. Harvey

clarified that the supplemental list printed the weekend before the election will

only include newly registered voters added to ENET after the official electors list is

loaded into the PollPads. (Tr. Vol. II, Doc. 905 at 218-19.) The supplemental list

does not include information as to whether individuals have cast a ballot during

early/absentee voting prior to election day. (Id.) Mr. Harvey also testified that the

Secretary of State does not provide a new updated paper backup of the electors list

prior to a runoff election to Counties for distribution to the precinct polling

locations. (Id. at 219-20.)




8 The PollPad is the device containing the electronic pollbook. The Secretary of State’s purchase
of the current KnowInk PollPads is covered under the terms of its BMD voting system contract
with Dominion. Dominion provides technical assistance in connection with the PollPads’ use.
However, the PollPads still operate off of the ENET database system now managed by the
Secretary of State’s office.
9 He further states that “a paper printout of the electors list after the close of early voting would

not capture voters who return absentee ballots after the updated electors list is printed and would
not eliminate the need for the poll official to check with the registrar prior to allowing the voter to
proceed with the voting process.” (Id. ¶ 15.)

                                                  19
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 20 of 67




      The State Defendants object to Plaintiffs’ request for a “paper pollbook

backup that reconciles early and absentee voting prior to election day” in their brief

in opposition to the motion as being logistically impossible for the Secretary of

State’s Office to prepare in the few days before the election. (Resp., Doc. 815 at 5.)

However, Mr. Harvey testified at the injunction hearing that if the data could be

generated and provided digitally to the counties so the election superintendents

themselves could print the paper backup copy of the updated report, he would have

no objection to making that available to the counties. (Id. at 221-22.) And State

Defendants confirmed in a filing subsequent to the hearing that the information is

available in ENET and in a separate Absentee Voter Report, which allows poll

officials to check whether an absentee ballot has been requested and accepted,

assuming the absentee voting data has been timely entered into ENET by county

election officials. (See State Defs.’ Resp. to Court, Doc. 895.)

      C.     Plaintiffs’ Evidence Regarding Problems with State’s New
             Voting System, Systemic Malfunctions of Electronic
             PollPads, and Lack of Coordinated Training on New
             Equipment and SEB Emergency Procedures

      State Defendants argue that Plaintiffs have failed to demonstrate that

required usage of the KnowInk PollPads alone violates the fundamental right to

vote because the evidence submitted does not identify systemic issues or

demonstrate unconstitutional burdens on voting. Defendants argue that Plaintiffs

have “identified a variety of disconnected issues related to the KnowInk PollPads,

namely technical issues and training of poll workers, but they have not provided

evidence of systemic problems with the electronic pollbooks resulting in
                                         20
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 21 of 67




disenfranchisement of voters.” But this argument is completely divorced from the

compelling evidence presented in this case in connection with each of the motions

for relief.

       In prior orders, this Court outlined in extensive detail critical deficiencies

and vulnerabilities that impacted the reliability and integrity of the State’s election

technology infrastructure and the actual breach of the Center for Election Systems

(“CES”) servers, computer networks and data, and the State’s electronic voter

registration system and database. (See September 17, 2018 Order, Doc. 309 at 4-

12, 34-38; August 15, 2019 Order, Doc. 579 at 21-90.)

       These concerns were at the center of the Court’s consideration in ordering

relief in August 2019 and remain a focus of this case even as the State implements

the BMDs in connection with multiple other components and the State’s main

election system server, including the voter registration database, that carry over

into the new election system.10 (See July 30, 2020 Order, Doc. 751 at 20-21.) As

this Court noted in its August 15, 2019 Order:


10As detailed in the August 15, 2019 Order, Doc. 579 at 39-41, the National Academies of Sciences
Report issued in September 2018, concerning the integrity of voting systems and the risks
associated with digital technology, determined:
       [A]ll digital information – such as ballot definitions, voter choice records, vote
       tallies, or voter registration lists – is subject to malicious alteration; there is no
       technical mechanism currently available that can ensure that a computer
       application – such as one used to record or count votes – will produce accurate
       results; testing alone cannot ensure that systems have not been compromised; and
       any computer system used for elections – such as a voting machine or e-pollbook
       – can be rendered inoperable.
National Academies of Sciences, Engineering, and Medicine, et al. Securing the Vote: Protecting
American Democracy 42, 80 (National Academies Press, 2018) (“National Academies Report” or
“NAS Report”). The NAS report also noted several cybersecurity risks regarding electronic
pollbooks and voter registration databases. It detailed concerns about “unauthorized access to or


                                               21
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 22 of 67




       The voter registration database, containing millions of Georgia voters’
       personal identifying information, plays a vital role in the proper
       functioning of the voting system. Yet it has been open to access,
       alteration, and likely some degree of virus and malware infection for
       years, whether in connection with: CES/KSU’s handling of the system
       and data and failure to address these circumstances upon transfer of
       CES’s functions back to the SOS; failure to remediate the database,
       software and data system flaws and deficiencies; or exposure of the
       widespread access to passwords to the voter registration data system
       throughout the SOS, CES/KSU, the 159 counties, or the public via the
       virtual open portal maintained at CES/KSU. Most significantly, the
       programming and use of ballots in both the DRE and future Dominion
       BMD system is tied to the accuracy of voter precinct and address
       information. Inaccuracy in this voter information thus triggers
       obstacles in the voting process. New Dominion express poll machines
       bought as part of the new contract with Dominion cannot alone
       cleanse the voter database to be transferred and relied upon.

(August 15, 2019 Order, Doc. 579 at 88-89.)



manipulation of the registrant list” because voter registration databases are “often connected,
directly or indirectly, to the Internet or state computer networks.” (Doc. 285-1, Ex. 1 at 57.) As an
example of the vulnerability of electronic voter databases, the report listed the server error that
left 6.5 million voter records in Georgia exposed for six months in 2016-17. (Id. at 58.) The NAS
report listed a number of ways in which cyberattacks on electronic voter registration data or e-
pollbooks could disrupt elections: 1) by altering voter registration databases used to generate
pollbooks; 2) by altering the record of which eligible voters have actually voted; and 3) by a
“denial-of-service” attack, which would shut down voting altogether. (Id. at 72.) Thus, the NAS
report recommends that “[j]urisdictions that use electronic pollbooks should have backup plans
in place to provide access to current voter registration lists in the event of any disruption.” (Id.)
         After holding hearings, reviewing intelligence, and hearing testimony from state election
officials and U.S. Government authorities responsible for election security, the U.S. Senate Select
Committee on Intelligence also concluded that voter registration databases and electronic
pollbooks, which can be accessed over the internet, are vulnerable components of the U.S.
Election infrastructure. (SSCI Report at 57.) The July 2019 SSCI report noted that Russian
government cyber actors engaged in operations to scan the election-related state infrastructure of
all fifty states and conducted research on “general election-related web pages, voter ID
information, election system software, and election service companies” and that Russian
operatives were able to penetrate the voter registration databases and access voter registration
data from Illinois and at least one other state. (Id. at 8, 22.)
         Counties in Georgia were targeted as well. In July 2018, Special Counsel Robert Mueller
released an indictment that alleges that a Russian operative “visited the websites of certain
counties in Georgia, Florida, and Iowa” on or about October 28, 2016. (Doc. 471-7 at 3.) As a
result, the SSCI report recommends that state officials “[u]pdate software in voter registration
systems” and “[c]reate backups, including paper copies of state voter registration databases.”
(SSCI Report at 57.)

                                                 22
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 23 of 67




       The voter registration database, ENET, which is used by county registrars to

maintain and update voter registration records and determine ballot precinct

information was not replaced with the adoption of the new Dominion BMD

election system. As described by Mr. Harvey, voter information from the existing

ENET system is loaded into the new electronic pollbooks for each election.

(Harvey Decl., Doc. 815-1 ¶ 12.)11 Other than a switch to the new KnowInk PollPad

electronic pollbooks, Defendants have offered nothing to indicate concretely any

action taken in response to issues experienced by voters in November 2018 and

more recent elections to ensure that the information from ENET and the operation

of the electronic pollbooks is reliable, accurate, and updated.

       Plaintiffs submitted a volume of evidence of the impact of these issues on

voters’ ability to cast votes, as detailed in the Court’s August 2019 Order, and more

recently in the BMD pilot elections and the 2020 primary elections. In connection



11 Defendants contend, and offer the declaration of Dr. Eric Coomer of Dominion, that information
from ENET is not electronically transmitted, and therefore cannot corrupt the new pollbook
system, because only a flat text file from ENET (that will be run through a security scan) will be
loaded into the pollpads for use during elections. This contention appears to be in conflict with
other evidence regarding the operation of the KnowInk pollbooks via WiFi and Harvey’s
statement in his declaration that “[e]lectronic pollbooks allow counties to receive updated
information from the electors list after the close of early voting during the three days prior to
Election Day,” and the information in Dominion’s public contract documents about the capacity
of the KnowInk pollbooks to receive up to the minute voter information on election day. As a
prime example, the Secretary of State’s summary report of the November 5, 2019 pilot elections
reports that “Some Poll Pads were not able to produce Voter Cards to activate the BMDs . . . The
issue was discovered upon the opening of the polls and was reported from Bartow, Carroll, Cobb,
and Paulding by approximately 7:20 am . . . By 7:40 am the SOS office directed that KnowInk and
Dominion do a universal fix by loading the dataset through a WiFi connection. That was executed
and the Poll Pads then began to function properly by approximately 8:20 am.” (Doc. 675-1 at 4.)
Plaintiffs have offered testimony of cybersecurity experts to rebut the State’s assertion that the
other two voter registration systems, the My Voter Page (MVP) and the Online Voter Registration
system, do not interface with ENET.

                                               23
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 24 of 67




with their prior motions, Plaintiffs presented evidence that the State’s technology

failures (whether caused by malicious interference, out of date software, or human

error by county registrars in failing to update voter registration information) have

resulted in voting disruption.12 For example, numerous declarations from voters

highlighted instances where a voter’s registration status on MVP, the “outward-

facing system used to provide information to voters” did not match the voter

registration status in the electronic pollbooks used to check in voters at the voting

polls. (See Doc. 579 at 98-111.) And as recounted in the August 15, 2019 Order,

forty-six individual voters described issues with the electronic pollbook, including

voters not being listed as registered, wrong addresses listed for the voters, incorrect

polling places, and listing voters as having already voted. (Id.) Many of the voters

were offered a provisional ballot, but several voters were not. Instead, a large

number of voters were told that they had to go to a different precinct to vote. Some

of these voters would not have had enough time to travel to the precinct shown on

the voter rolls in time to cast a ballot before the polls closed. (Id. at 99.) Six of



12The Court also takes judicial notice of the evidence and the Court’s findings in Common Cause
Georgia v. Kemp, 347 F.Supp.3d 1270 (N.D. Ga. 2018). This evidence included sworn declarations
of voters (and poll watchers) who faced hurdles in their registration status and even in obtaining
the opportunity to cast provisional ballots at the polls after they were affirmatively told they were
not on the registration rolls, despite having voted from the same home in the recent past or
affirmatively representing they had timely registered and were regular voters. The Court found
that “[r]epeated inaccuracies were identified in the voter registration system that caused qualified
voters likely to lose their vote or to be channeled at best into the provisional voting process
because their registration records did not appear or had been purged from the data system. For
example, there was evidence from voters that they were registered but were told they were not in
the registration system; there was evidence that voters were sometimes refused provisional ballots
or if provided provisional ballots, sometimes had to return to the polls to insist on this. Similarly,
there was evidence from Common Cause poll monitors and hotline workers to the same effect.”
Id. at 1293–94.

                                                 24
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 25 of 67




these voters were shown in the registration system as having already voted when

they showed up at the polls to cast their ballots. (Id. at 99-101.) Several voters

described their being informed at the polls that their addresses did not match the

information in the pollbooks, while their family members who resided at the same

address were found in the pollbooks and allowed to cast a regular ballot. (Id. at

102-04, 106.)

       The evidence supporting Plaintiffs’ most recent motions suggests such

failures have potentially been left unremediated, are accompanied by other glitches

associated with the implementation of the new electronic pollbook system, or both.

Each of the named individual Plaintiffs submitted declarations in connection with

the Curling Plaintiffs’ current motion and the Coalition Plaintiffs’ earlier

preliminary injunction motion challenging the State’s new voting system, attesting

to the impacts on their First and Fourteenth Amendment rights.13 (See Decl. of

Donna A. Curling, Doc. 785-3; Decl. of Donna Price, Doc. 785-4; Decl. of Jeffrey H.

Schoenberg, Doc. 785-5; Exs. D-G to Coalition Pls.’ October 23, 2019 Mot., Doc.

640-1.)

       Coalition member Plaintiff Megan Missett, a Fulton county voter and

member of the Coalition, prefers to vote on election day at her neighborhood

precinct and participate in the community exercise of voting because she values


13Marilyn Marks, the Executive Director of Plaintiff Coalition for Governance, also submitted a
declaration verifying the allegations in the Coalition Plaintiffs’ Third Am. Complaint, Doc. 226,
and First Supplemental Complaint, Doc. 628, regarding the burden on the Coalition’s
organizational and associational interests as a result of the State’s actions. (See Decl. of Marilyn
Marks, Ex. C to Coalition Pls.’ October 23, 2019 Mot., Doc. 640-1.)

                                                25
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 26 of 67




the shared civic experience of voting at the polls. (Decl. of Megan Missett, Doc.

640-1 at 149-154.) Missett attests that this choice is burdened by obstacles to

voting created by erroneous pollbooks and Georgia’s electronic voting machines.

Aware of systemic problems with electronic pollbooks resulting in eligible voters

being turned away from their correct polling place, sent to the wrong polling

places, denied access to voting, or being forced to vote provisionally, Missett

attended meetings with Georgia election officials regarding data migration to the

new electronic pollbook system. Following the meeting, Missett remained deeply

concerned about the State’s lack of planning required to fix systemic problems in

voter’s ability to access the polls. As a result, she attests that she is required to

choose between the risks associated with in-person voting and the burdens and

risks associated with absentee mail voting. Missett is actively engaged in efforts to

further the Coalition’s mission and in 2019, devoted 950 hours to voting rights,

voter registration and candidates’ campaign activities.           In her ongoing

conversations with potential voters, many who are aware of criticisms of the BMD

system and the unresolved problems of the electronic pollbooks, voters have

expressed to her that they question whether it is worth voting because of the high

number of mail ballot rejections. Missett is also concerned about recommending

mail ballots with the rules Georgia uses to issue and accept mail ballots.

      In their declarations, Plaintiffs William Digges III and Laura Digges state

they both plan to vote by absentee mail ballot even though their preference is to

vote on election day at their local precinct and participate in the community

                                         26
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 27 of 67




experience with the benefit of the latest information on matters on the ballot.

(Decl. of William Digges, III, Doc. 640-1 at 167-170; Decl. of Laura Digges, Doc.

640-1 at 162-65.) This is due, in part, to their knowledge of the systemic problems

with electronic pollbooks that caused people to be sent to wrong polling place, or

be denied a ballot, or be forced to vote provisionally. To ensure they can verify

their votes before casting their ballots, and to avoid the risk of being turned away

from their polling station due to electronic pollbook malfunctions, William and

Laura Digges attest that they are being forced to make the unfortunate choice to

vote in advance by mail, giving up the benefits of voting in person at the polling

place with friends and neighbors.       According to the Digges, the additional

requirements associated with casting an absentee ballot and the possibility of a

delivery failure or a signature mismatch determination by elections officials

operate as a significant disadvantage – in order to cast a paper ballot that can be

recounted and audited.

      Plaintiff Ricardo Davis similarly plans to vote by absentee mail ballot in part

because of documented problems with electronic pollbooks. (Decl. of Ricardo

Davis, Doc. 640-1 at 156-160.) As Chairman of the Constitution Party of Georgia,

Davis would prefer to vote in person in order to be visible to his party’s candidates

and members voting on election day, but believes the electronic systems create too

much risk of his vote being inaccurately recorded. Davis is also concerned about

the reliability of Georgia’s optical scan machines to accurately count paper

absentee ballots without proper audits to confirm accuracy of reported outcomes.

                                         27
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 28 of 67




       In their current motions, the Coalition Plaintiffs provided substantive

evidence demonstrating a system wide problem of malfunctioning electronic

PollPads beginning with the November 2019 pilot elections, again in the June

2020 primary election, and most recently in the August 2020 runoff elections that

resulted in voter disenfranchisement and that is likely to continue in the upcoming

Federal Congressional and Presidential elections.              They also have previously

shown in connection with their 2018 and 2019 preliminary injunction motions the

lack of security and vulnerability of the State’s election server then in use and a

pervasive pattern of voter registration data errors in the ENET database.                  (See

September 17, 2018 Order, Doc. 309; August 15, 2019 Order, Doc. 579.)

       BMD Pilot Elections

       The Secretary of State’s Executive Summary of the November 2019 pilot

elections in six Georgia counties using the new voting system disclosed numerous

issues with the PollPads and a resulting failure to timely open the polls.14 (Doc.

675-1) (explaining that five of six pilot counties had an issue upon opening of polls

with some PollPads). Some of the failures specifically identified in the 2019 pilots

persisted at polling locations in the June 9, 2020 primary election. (Compare Doc.

675-1 with Doc. 755.)

       In connection with the 2019 pilot elections using the BMD system and

associated pollbooks, poll managers received notice during early voting and on


14A seventh county, Cobb, conducted a pilot election using hand-marked paper ballots, along with
the new electronic PollPads, precinct scanners, and election management system. (Doc. 675-1 at
3.)

                                              28
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 29 of 67




election day that there was a “state-wide problem” with the e-pollbooks

necessitating a change in procedures to require voters to complete a paper

application/oath before being checked in at the PollPad station. (Suppl. Decl. of

Rhonda Martin, Doc. 680-1 at 74-76; Decl. of Aileen Nakamura, Doc. 680-1 at 134;

Decl. of Elizabeth Throop, Doc. 755 at 103.)15 Poll workers experienced problems

with the operation of the PollPads during the pilot elections because they had not

been informed they needed WiFi in order for the PollPads to work. (Nakamura

Decl., Doc. 680-1 at 134; Throop Decl., Doc. 755 at 103-04.) While the PollPads

were inoperable at the White Oak Park precinct in Paulding County, voters were

advised by the poll manager they could use provisional ballots and would have to

cure them later, but they declined and indicated they would come back later.

According to Nakamura, “[t]here was apparently no paper pollbook back up or

appropriate voter registration record to work around this malfunction.” (Id. at

133.) When Elizabeth Throop arrived at the Lakeshore Recreation Center voting

precinct in Carroll County16 at 7:45 a.m. on November 5, 2019, the PollPads were

not working and neither the poll manager nor the Dominion representative could

fix the problem. (Throop Decl., Doc. 755 at 104.) Voters waited while the poll

supervisor used his access card and passwords to permit voting on the BMDs. A

later report from the Secretary of State indicated that the PollPads had been mis-



15 Rhonda Martin, Aileen Nakamura, and Elizabeth Throop are registered Georgia voters and
members of the Coalition for Good Governance. They served as poll watchers and public
observers during the elections.
16 Carroll County was a pilot county for use of the BMD in the November 2019 elections.


                                           29
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 30 of 67




programmed, a fix had been executed via WiFi, and that PollPads were functioning

properly by 8:20 a.m. However, according to Throop, based on her personal

observations, PollPads at the Lakeshore precinct were not functioning properly

until after 10:00 a.m. with a temporary fix. The Secretary of State’s report on the

pilot elections did not identify any problems at the Lakeshore Recreation Center

precinct on November 5, 2019. During a special election held on January 28, 2020

in Mitchell County, the PollPad would not allow a voter to check in because the

system indicated that she had previously voted. (Throop Decl., Doc. 755 at 104-

05.) The poll manager called the county election office, was informed the woman

had not already voted, and gave her a voter access card.

      Several poll workers complained of a lack of training on the new voting

machines and PollPads. One poll worker at a polling location in Hiram, Paulding

County indicated they had only received the equipment one week prior to the

election and had been scrambling. Nakamura observed poll managers and workers

in Paulding and Bartow counties still receiving training on how to operate the

PollPad on election day. (Id. at 140-141.)

      At the November 21, 2019 meeting of the Morgan County Board of Election,

the elections director Jennifer Doran reported on the pilot elections and pointed

out her concerns about problems with the operation of the new equipment,

including ballot marking devices rebooting on their own after they were already in

service for voting, ballots jamming in scanners, and PollPads failing to encode



                                         30
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 31 of 67




voter access cards for the BMDs. (Suppl. Decl. of Jeanne Dufort, Doc. 680-1 at 175;

Ex. 1 to Dufort Decl., Doc. 680-1 at 181-85.)

      Floyd Rose, a registered voter in Lowndes County offered a declaration

recounting his experience attempting to vote in the December 2019 runoff election

on the State’s new equipment. (Decl. of Floyd E. Rose, Doc. 680-1 at 191-93.) After

Mr. Rose and his wife, Estella, moved from one address in Valdosta to another,

they updated their address in the voter registration system and on their driver’s

licenses in July 2018. Mr. Rose voted in person at the Lowndes County Board of

Elections early voting location in the November 2018 general election and the

November 2019 municipal election.        On each of these occasions, Mr. Rose

presented his driver’s license upon checking in at the polls and was allowed to vote

with no problem. Mr. Rose attempted to vote at the Lowndes County Board of

Elections early voting location in the December 3, 2019 runoff election but was told

that the pollbook records did not match his current address on his driver’s license.

He was given a provisional ballot, but it was rejected although he is an eligible

elector in the city of Valdosta. His wife, Estella Rose, who resides at the same

address was permitted to cast a regular ballot in both the November 2019 election

and the December 2019 runoff with no problem. The poll workers did not refer to

a paper pollbook to determine whether Mr. Rose was eligible to vote. Mr. Rose

attended the December 3, 2019 provisional vote count at the Lowndes County

Board of Elections to question why his provisional ballot was rejected but was given



                                         31
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 32 of 67




no satisfactory answers. Mr. Rose was upset about being disenfranchised by what

appears to be errors in the electronic pollbooks.

      June 9, 2020 Primary Election

      As reflected in an informal transcript of the Cobb County Election Board

Meeting held on June 19, 2020 after the primary election, Cobb County

experienced significant difficulties and delays in the June primary as a result of

malfunctions and failures of the electronic PollPads and a lack of training on how

to deal with such disruptions in the voting process. (Ex. D to Marks Decl., Doc.

755 at 37-40.) According to Janine Eveler, Director of Elections for Cobb County,

the County received complaints from voters on the last Friday of advanced voting

with lines up to 6 hours long because the system went down for regular

maintenance in the middle of voting. Voters reported receiving the wrong ballot

because the County did not have an accurate list of whether the individual had

voted in the March election. Eveler reported to the Board that during the June 9,

2020 primary, many polls in Cobb County reported that their PollPads were not

syncing, they could not encode voter cards, or they could not log in. The County

was given no instructions on how to resolve these syncing issues. According to

Eveler, the State provided no troubleshooting guides. Cobb County did not have

the resources to deliver required WiFi devices to resolve these problems at multiple

polling sites or to staff the multiple phone calls from poll workers. Eveler explained

that the new system is a “complicated multi-component” system, “each with a

possibility of failure.” (Doc. 755 at 38-40.) For example, “[t]he PollPad has a very

                                         32
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 33 of 67




small connection point for the encoder that failed in many polls and cards were not

able to be properly encoded.” (Id. at 40.)

      Cobb County experienced significant issues with a lack of poll worker

training in advance of the June primary due to the pandemic, employees working

from home, and the resignation of their training supervisor. (Ex. D to Marks Decl.,

Doc. 755 at 37-38.) Eveler, Cobb County's Director of Elections, stated to the Board

that although the State supplied some videos and setup instructions, there was no

coordinated poll worker training provided by the State. When most of the training

was initiated in February and March before postponement of the primary election,

the State’s forms and instructions for training were still under development. As a

result, the Cobb County elections division developed its own online training, but

did not dedicate enough time to training poll workers on emergency procedures.

Poll managers at various precinct locations reacted with different procedures when

they were faced with emergencies.

      Laurel Dowswell served as a poll worker at the Smyrna 7A precinct at Life

Church Smyrna Assembly of God polling location on June 9, 2020. (Decl. of Laurel

Dowswell, Doc. 809-11.) She was stationed at the PollPads for almost the entire

day. Though she attests the PollPads worked effectively for the most part, they

would not sync with each other for most of the day to provide updates to the

pollbook data. Her precinct did not have on hand a paper pollbook backup for

voter look-up if the PollPads had errors or malfunctions. According to Dowswell,

her precinct had to issue a lot of provisional ballots due to voters not receiving their

                                          33
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 34 of 67




absentee ballot, voters receiving absentee ballots and deciding to vote in person,

or voters appearing in the pollbook as being in the wrong polling place. Dowswell’s

polling location also experienced several BMDs becoming inoperable and having

to be reset multiple times and voters having to scan their ballots multiple times

before they were accepted. She reports that the wait time for the constant flow of

voters ranged from 2 hours in the morning, to 1 hour around 1:00 pm, and around

5:00 pm the wait increased to 1 and ½ hours. Despite the equipment malfunctions

and wait times, Dowswell does not believe any emergency paper ballots were used.

       Marilyn Marks served as an authorized poll watcher for polling locations in

Fulton and DeKalb counties in the June 9, 2020 primary election. (Marks Decl.,

Doc. 755 at 5-16.) At the Central Park Recreation polling center, the wait time to

vote at 10:00 a.m. was estimated at 4 hours. Voting was almost at a complete

standstill due to inoperable electronic pollbooks. Marks observed no poll workers

using the precinct’s paper list of registered voters to check in voters. Poll workers

resorted to issuing provisional ballots with only a single provisional voting

station.17 During this time, some BMDs sat unoccupied while the line to vote was

hours long.




17As noted earlier, provisional ballot votes are not automatically counted and credited. Instead,
the County Board of Registrars must review all provisional ballots no later than the day after the
primary or election in which such provisional ballot was cast and determine if the ballot may be
cast and affirmatively counted based on the registration and voting status (including precinct) of
the individual voter. Voters are given a three-day window of time to cure any deficiency identified
that would preclude the voter’s ballot from being counted. O.C.G.A. §§ 21-2-418, 419.

                                                34
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 35 of 67




        Joy Wasson observed the same conditions at the South Hairston precinct in

DeKalb County where two PollPads were down and no one had voted after waiting

for an hour after polls should have opened. (Wasson Decl., Doc. 755 at 74.) The

Chair of the DeKalb Board of Registration and Elections issued a statement

indicating technical issues with the new state-issued voting machines. (Ex. C to

Wasson Decl.)

        Elizabeth Throop observed the June 9, 2020 primary election at the Miller

Grove voting precinct in DeKalb County from 7:30 a.m. to 1:30 p.m. (Doc. 755 at

101.) During the 6 hours she was present, the two PollPads used for voter check-

in created a bottleneck resulting in voters waiting a minimum of 90 minutes to

vote.    Despite the lines, Throop never saw more than half of the 12 BMD

touchscreen voting machines in use at any one time. The PollPads would not scan

the voter’s driver’s license and poll workers were having to enter the driver’s license

data by hand into the PollPad, and asking voters to review the information line by

line to verify it had been entered correctly. At times, poll workers were looking up

names on a paper list.

        Samantha Whitley observed multiple polling locations in Fulton, DeKalb,

Gwinnett, and Athens-Clarke counties on June 9, 2020.18 (Decl. of Samantha

Whitley, Doc. 755 at 124-28.) At 8:15 a.m. at the Dunwoody Library, voters had

been waiting over an hour and very few people had voted. It appeared that no BMD



 Whitley is an analyst for the Coalition for Good Governance and authorized poll watcher for the
18

Constitution Party.

                                              35
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 36 of 67




was in use, voters were not being checked in because the PollPad equipment was

down, there was no back up pollbook available, and poll workers were not issuing

emergency paper ballots. At 9:15 a.m. at the Gwinnett County Water Department,

the line was over 2 hours long. The polling location had not received the voting

machines until 8:30 a.m. that morning and no electronic voting equipment had

been set up for use by voters. Poll workers began issuing provisional ballots at 7:51

a.m. and did not appear to be properly trained on the emergency or provisional

ballot procedures. The first voters were checked in using the PollPads at 10:10 a.m.

and voting began on the BMDs at 10:15 a.m.           Poll workers appeared to be

unfamiliar with the equipment and only the poll manager and a state

representative were able to assist voters with equipment or scanner problems. At

10:45 a.m. the line to vote was 2 hours long.

      At 3:55 p.m. Whitley arrived at JC07 in Fulton County where the line was

approximately an hour long. (Id. at 126-27.) The poll manager explained that

voters had to vote provisionally until 10:30 a.m. because the BMDs were not

operational. Neither a paper pollbook nor emergency ballots were used to decrease

voter wait times. When Whitely arrived at the Cross Keys School polling location

in DeKalb County at 5:00 p.m., 200 people were waiting in line to vote. A poll

worker explained that BMDs were not operational until 11:00 a.m. There were six

BMDs and two electronic PollPads in the polling location. The PollPads were

causing the longest delay and poll workers did not attempt to use a paper backup

to check in voters or issue emergency ballots.

                                         36
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 37 of 67




      Cobb County voter Angela Stone arrived at her polling location at Sope Creek

Elementary at 6:50 a.m. on June 9, 2020. (Decl. of Angela Stone, Doc. 755 at 145-

148.) At 7:30 a.m. it was reported that the system was down and no one had voted.

A few people left the line. Ms. Stone called the Secretary of State’s Office, the Cobb

County election liaison, and the Cobb County elections office to inquire about the

availability of emergency or provisional ballots. Inside the building, Stone saw that

there were four PollPads set up but only one was in use. She also saw only two out

of six BMDs in use and voters were being escorted by poll workers to each voting

station. At the check-in desk, Stone learned that the PollPads would not validate

the voter access cards for use in the BMDs. Around 8:45 a.m., Stone observed a

poll worker proclaim that the paper backup list of voters had been found. After

flipping through the first few pages, the poll workers indicated the manual process

would take too long and decided to continue voter check-in on a single operational

PollPad. Stone also overheard a poll worker describing the problems they had

encountered over the phone and determined that the PollPads had been not been

plugged in correctly. The problem was resolved and the poll workers began issuing

the voter access cards.

      Cobb County voter Lynn Palazzo described the June 9, 2020 primary as the

worst voting experience she has encountered. (Decl. of Lynn Palazzo, Doc. 755 at

150-55.) She arrived at her polling place at 6:45 a.m. and voted two hours later at

8:45 a.m. Palazzo had intended to vote absentee by mail for the June 9th election;

however, the ballot she received was dated May 19, 2020. Because there were no

                                         37
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 38 of 67




instructions indicating that the ballot dated May 19 could be used for the June

primary, she discarded it. When Palazzo arrived at her polling place at 6:45 a.m.,

there were ten to twelve people in line ahead of her. Ten minutes after the polls

opened, voters were informed by a poll official that the PollPads were down and

they should consider coming back later in the day. The poll worker stated, “no one

knows what the heck they’re doing because we weren’t allowed to open these ahead

of time.” (Id. at 151.) Palazzo asked the poll manager about using emergency paper

ballots, but he expressed his opposition indicating “that takes twice as long.” (Id.)

The poll manager did not seem to be aware of the election code provision for using

paper ballots in an emergency situation. Instead, he had been advising voters to

leave and come back later. After waiting in line for an hour, only two people had

been able to vote. Around 7:50 a.m., the poll manager announced they would start

using paper ballots even though they had been provided no instruction on such a

switch. One person voted using a provisional ballot. Around 8:00 a.m. poll

workers were able to start using one operational PollPad. Palazzo was concerned

by the informal procedures used by the assistant poll manager to record the

cancellation of her absentee ballot. She finally voted on a voting machine at 8:45

a.m. and left concerned about the lack of poll worker training to handle the

emergency situations that arose during the election.

      Several voters also reported problems with the Secretary of State’s online

voter registration verification system on election day. Voters could not check their

voter registration status or polling place assignment on the My Voter Page on the

                                         38
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 39 of 67




Secretary of State’s website. (Marks, Doc. 755 at 15; Wasson Decl., Doc. 755 at 74;

Whitley Decl., Doc. 755 at 124-2; Stone Decl., Doc. 755 at 145.)

      Ballot Recap Sheets from Fulton County in the June 9, 2020 primary

indicate material differences between the number of ballots cast and the number

of voters recorded in the PollPads as having been checked in at some Fulton County

precincts. (See Ex. D to Marks Decl., Doc. 802 at 46-52.) According to the

declaration of Marilyn Marks, the Ballot Recap Sheet is used to ensure that the

number of voters and ballots cast in the polling place as shown by the public

counters on the PollPads, the BMD touchscreens, and the precinct scanner

reconcile at the close of voting. (Marks Decl., Doc. 802 at 22.) This is apparent

from the language at the bottom of each of the Ballot Recap Sheets shown below:




                                        39
Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 40 of 67




                              40
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 41 of 67




(Ex. D to Marks Decl., Doc. 802 at 46-52.)

      The Curling Plaintiffs (who actively supported the Coalition Plaintiffs’

pollbook motion, see, e.g., Doc. 901 7-8), also collected voter complaints made

regarding the June 9, 2020 election directly to the Secretary of State’s office from

an array of voters from polling locations across the state. (See Doc. 855-4 at 49,

59, 66). As one voter from Marietta described, “I went to vote and upon trying to

receive the green voter card, it ‘jammed’ and they couldn’t issue it to me. They

tried again and it said ‘already voted.’ I had to fill out a provisional ballot.” (Doc.

855-4 at 49.) A second voter from Powder Springs complained about voting delays

because the machines were not working, resulting in the line of voters being

wrapped around the building as early as 7:30 a.m. (Doc. 855-4 at 59.) The voter

                                          41
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 42 of 67




placed a call to the Cobb County Board of Elections to learn the office was unaware

of the problem with malfunctioning voting machines at the precinct. Voters began

asking for provisional ballots and were advised that they were not available until

the end of the day causing some voters to leave because of the inability of poll

workers to provide any time frames for voting or access to provisional ballots. A

sheriff deputy came to the precinct and shared that the problem was statewide, due

to programming, and was not the result of poll worker error. The voter reported

being provided a provisional ballot at 9:15 a.m. after the PollPad failed to scan the

voter’s identification. Particularly exasperated by this voting experience, the voter

concluded: “I am 66 years old & cannot believe a nation that successfully sent

astronauts to the moon in the 60’s continues to fail citizens in the most basic tenant

[sic] of a democracy.” (Id.)

      Another voter from Suwanee, in Gwinnett County, discussed a concerning

experience they had in attempting to vote in person:

      I had filled out an absentee ballot that I decided not to mail in or drop
      in a drop box, so I brought it to my precinct. It was collected and
      canceled by a poll worker so that I could vote in person. I was given a
      green card to take to the voting machine. When I inserted the card,
      no ballot came up, just a message that said the card was not valid. I
      returned to the line and explained that my card did not work in the
      machine. I had witnessed this happen to two other voters while I was
      there and they were given new cards, returned to the voting machine
      and cast their votes. When the poll worker attempted to give me a new
      card, she received a message that told her I had already voted. A
      phone call was made for guidance. I was told to fill out a provisional
      ballot, which I did. Since I was the first person in my precinct to
      submit a provisional ballot, I verified that no other ballots were in the
      container for holding such ballots and signed a statement saying so. I
      placed my ballot in the slot and the poll worker closed the lid over the

                                         42
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 43 of 67




      ballot box, at which point he was supposed to lock the box. There was
      just one problem – there was no lock for the box. I was asked ‘Are you
      cool with just putting it in here like this?’ I said, ‘I suppose so, since
      there appears there is no other way to submit my vote. This was the
      very thing I was hoping to avoid by going to my polling place. I did
      not want to merely leave my ballot in a box that could potentially be
      tampered with – although, I must say, I felt better about leaving it at
      my precinct than in a box at the park. To summarize, the whole
      experience left me feeling a little uneasy about the whole process with
      the new equipment that was being used for the first time. The poll
      workers were as confused as I was as to why some of the cards were
      not working, and mine, in particular, stating that I had voted already
      when my absentee ballot was confirmed cancelled. Luckily, I had
      nowhere to be at the time, or it would have been doubly frustrating, as
      the whole process to cast my vote took about 45 minutes at a precinct
      with no line. Most unsettling, though, was the fact that the system
      showed I had voted, when I had not and the lack of security in finally
      submitting my ballot to an unlocked box. This IS NOT ACCEPTABLE.
      It is imperative that these problems be fixed prior to November.

(Doc. 855-4 at 66.)

      August 2020 Runoff Election

      The Coalition Plaintiffs presented evidence that many of the same

equipment problems persisted in the August 11, 2020 runoff election.

      Harri Hursti, an expert in voting system and cybersecurity for the Coalition

Plaintiffs, served as public observer, poll watcher, and as the Coalition’s expert for

purposes of a Rule 34 inspection at certain precincts during the August 2020

runoff election. (Decl. of Harri Hurst, Doc. 802 at 6-13.) Marilyn Marks

accompanied Mr. Hursti during his observations. (Decl. of Marilyn Marks, Doc.

802 at 16-22.) During their visit to the polling location at Peachtree Christian

Church, Hursti and Marks talked with the poll manager about the emergency

procedures and the paper pollbook backup. They learned from the poll manager

                                         43
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 44 of 67




that “he rarely opens the sealed envelopes with the printed voter lists” and “that it

would be a very unusual emergency such as losing all power and battery backup”

for over 30 minutes that would “cause him to use such a paper backup list.” (Doc.

802 at 17.) The poll manager showed Hursti and Marks the paper voter list that

appeared to have been prepared for the June 9 primary election and had not been

updated for the August 11 runoff. (Decl. of Harri Hurst, Doc. 802 at 9; Ex. A to

Decl., Doc. 802 at 14; Marks Decl., Doc. 802 at 18.) The poll manager also

explained that provisional ballots are used for all “emergencies” and that any voter

issued a paper ballot would be required to complete provisional paperwork and

submit it as a provisional ballot. (Marks Decl., Doc. 802 at 18.)

      As a result of the problems encountered with the PollPads during the June

9 primary election, KnowInk decided to disable the password protection for the

PollPads for use in the August 11 Runoff. (Hursti Decl., Doc. 802 at 9-10.)

According to Hursti, “the electronic pollbooks are based on general purpose

consumer grade hardware and operating systems. They are not and cannot be

adequately secured against malfunctioning or attacks. They require the standard,

universally recommended risk reduction practice of having current paper pollbook

backups to be used to issue ballots in the event of emergencies, equipment

unreliability, or e-pollbook discrepancies.” (Id. at 7, ¶ 5(a).) Hursti further attests

that Georgia’s practice of “[p]ermitting operation of the electronic pollbooks

without password protection is an unacceptable practice from a voting system, or

any system processing sensitive data, security standpoint [and] measures like

                                          44
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 45 of 67




removing passwords, and therefore weakening the security should never be a

workaround to reliability issues.” (Id. at 10, ¶¶ 11-12.) Moreover, as Hursti

explained in his December 16, 2019 declaration, WiFi is not a secure method of

handling the type of sensitive data used in a voting system and the WiFi connection

issues experienced in the 2019 pilot elections demonstrated the KnowInk WiFi

configuration was not reliable based on many variables ranging from weather, to

competing traffic, to polling place configuration. (Doc. 680-1 at 89-90.)

      Poll workers at the Central Park Recreation Center reported PollPad

problems again during the August 11 runoff. (Hursti Decl., Doc. 802 at 11-12.) The

PollPads failed to synchronize for check-in and poll workers diverted to a manual

process to add up the totals for the poll books. The problem was resolved by 9 a.m.

when one of the poll workers accessed the WiFi and Bluetooth setting of the

PollPads.

      The Fanplex polling location in Fulton County experienced accuracy issues

with the electronic pollbooks on August 11. (Hursti Decl., Doc. 802 at 12.) Voters

belonging to a new precinct (0F1) were not found on the electronic pollbook

system. Poll watchers and poll workers reported that once the poll officials

followed instructions provided over the telephone by the county elections office,

the voters in 0FI precinct appeared in the PollPads. However, all voters in the 0F1

precinct were reportedly displayed as having voted a mail ballot, even though this

was not accurate.



                                        45
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 46 of 67




      For the August 11, 2020 runoff, Michael Stippich, a registered voter in

Fulton County, attempted to vote at the FanPlex precinct, where it took him 3

hours to vote during the June 9 primary. (Decl. of Michael Stippich, Doc. 800-5.)

When he arrived, there were no lines and he expected to be in and out within five

minutes. After handing the poll worker his driver’s license for scanning, Stippich

was informed there was an error for his precinct 0F1. He was asked to step aside

and wait. Other people from the 0F1 precinct arrived and experienced the same

issue. Stippich waited 45 minutes for poll workers to resolve the problem after

speaking with the county elections office. After poll workers located the precinct

in the system, the PollPads indicated Stippich and the other voters from 0F1 had

requested absentee ballots or already voted absentee. Stippich explained that he

had not applied for an absentee ballot and always voted in person. He was issued

a provisional ballot. Stippich was concerned that an entire precinct would be

forced to vote using provisional ballots because the PollPads were not functional

and there was no updated paper backup of the polling list.

      John T. Peterson, a registered voter in Cherokee County, worked as a Field

Support Technician for Dominion Voting in the August 11, 2020 runoff election.

(Doc. 800-4.) After answering an advertisement posted on Twitter, Peterson

received training on August 7 at a warehouse stocked with voting equipment used

by Dominion Voting for the election. Peterson received two to three hours of

training on how to set up PollPads, BMDs, printers, and scanners, how to turn the

equipment on and off, and where to locate all power buttons, cables and

                                       46
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 47 of 67




connections.    Peterson also received a Dominion manual which contained

troubleshooting steps. According to Peterson, the field technicians were advised

as part of their training that they were not permitted to touch the equipment at the

polls during the election.

      On August 11, 2020, Peterson was assigned to a precinct at New Beginnings

United Methodist Church in Kennesaw, Cobb County. Peterson assisted with

assembly of the PollPads as none of the poll workers seemed familiar with setting

up the equipment. When the polls opened, only seven out of the ten BMDs were

working, three of them would not turn on. Peterson was surprised he had not been

asked to assist in troubleshooting the issue. By 9:30 a.m., technical issues had

caused two more BMDs to become inoperable and one BMD printer was jammed.

Because Peterson was not permitted to touch the equipment, poll workers had to

wait for a Dominion technician.

      In   sum,    the   Coalition   Plaintiffs   presented    compelling    evidence

demonstrating that the PollPads failed to perform many of their critical functions

during the 2019 pilot elections, the June 2020 primary election, and again in the

August 2020 runoff election. These include failing to read driver’s license barcodes

to verify registration status during voter check-in, failing to record voter signatures

upon check-in resulting in poll workers having to resort to manual processes,

failing to accurately report if a voter has voted previously, and failing to encode

ballot access cards to allow voters to cast ballots on the BMDs. As a result, voters

waited for hours because of delays and malfunctions with the operation of the

                                          47
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 48 of 67




PollPads. In many instances of such bottlenecks created by operational problems

with the PollPads, poll workers did not use paper pollbooks as a backup to aid voter

check-in and facilitate voting. Many voters were required to use provisional

ballots, and in some instances, those ballots were rejected without explanation

from election officials.

      D.     Injunctive Relief Factors

      In determining whether Plaintiffs have established a substantial likelihood

of prevailing on the merits of their claim related to the paper pollbook backup, the

Court must first “consider the character and magnitude of the asserted injury to

the rights protected by the First and Fourteenth Amendment.” Anderson v.

Celebrezze, 460 U.S. at 789. Although Coalition Plaintiffs do not characterize the

magnitude of the burden on their constitutional rights explicitly in their pollbook

motion, they assert that that the undisputed evidence shows that using unreliable

and unsecure electronic pollbooks without an updated paper backup

disenfranchises voters. And Plaintiffs have vigorously advocated the need for such

relief in these proceedings, dating back at least to the July 2019 preliminary

injunction hearing and then again, in additional questions following the Court’s

issuance of the Order of August 15, 2019, asking the Court to substitute the

requirement of provision of pollbooks in place of the less helpful voter registration

lists as a backup during voting. (See, e.g., Plaintiffs’ Rule 59(e) Motion, Doc. 605;

Order, Doc. 636.) The Court in its later conferences with counsel encouraged the

State Defendants’ counsel to cooperate in addressing this issue.

                                         48
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 49 of 67




       “The right to vote freely for the candidate of one’s choice is of the essence of

a democratic society, and any restrictions on that right strike at the heart of

representative government.” Reynolds v. Sims, 377 U.S. 533, 555 (1964); Wexler

v. Anderson, 452 F.3d 1226, 1232 (11th Cir. 2006) (“The right to vote is

fundamental, forming the bedrock of our democracy.”). Voting is, indisputably, a

right “‘of the most fundamental significance under our constitutional structure.’”

Burdick, 504 U.S. at 433 (quoting Illinois Bd. of Elections v. Socialist Workers

Party, 440 U.S. 173, 184 (1979)). The right to vote includes “the right of qualified

voters within a state to cast their ballots and have them counted.” United States v.

Classic, 313 U.S. 299, 315 (1941). State and local laws that unconstitutionally

burden that right are impermissible. Wash. State Grange v. Wash. State

Republican Party, 552 U.S. 442, 451 (2008).

      Building on the foundation of evidence from the prior injunction motions,

Plaintiffs have presented additional evidence in connection with the State’s new

voting system and inaccuracy problems in its legacy ENET voter registration

database. Plaintiffs’ new evidence indicates that the State has yet to work out the

host of bugs afflicting its implementation of an entirely new electronic voting

system, and along with its contractor, has adopted measures that jeopardize the

security of the voter check-in system, including disabling the default password

protection of the PollPads and allowing the PollPads to operate on an unreliable

and unsecure WiFi connection to transfer sensitive voter data.              Plaintiffs’

declaration testimony establishes that the threshold bottleneck during voter

                                          49
          Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 50 of 67




check-in significantly has contributed to long lines and waiting periods of hours

(far greater than 30 minutes) and caused voters to leave and be deterred from

voting. This evidence combined with issues related to the power supply limitations

at multiple polling places (causing equipment shutdowns), repeated issues with

the operation of the PollPads and BMDs themselves, and ineffective or nonexistent

“non-technical” backup systems in place has led to a severe burden on the rights of

voters.

       This Court previously held that “[i]f voters’ capacity to cast votes are

thwarted through an inaccurate express pollbook voting check-in or voter website,

this burdens their right to cast votes, scrambles election day voting procedures,

and ultimately, in turn affects voting results.” (August 15, 2019 Order, Doc. 579 at

89-90.) The totality of the evidence presented in connection with the elections

conducted thus far on the State’s new system provides no indication that the

circumstances facing voters described above will be better in the November

Presidential election. The imminent harm faced by Plaintiffs and other Georgia

electors is of a constitutional magnitude.19 See Democratic Exec. Comm. of Florida


19 In addition to the burdens faced by the individual Coalition member Plaintiffs, the Coalition
has a protected interest in pursuing its organizational goals of preserving and advancing the
constitutional liberties and individual rights of citizens, with an emphasis on preserving and
protecting the rights of its members that are exercised through public elections without having to
divert resources and personnel to counteract Defendants’ challenged actions. (See Coalition Pls.’
Suppl. Compl. ¶ 214; Third Am. Compl. ¶ 140-141.) See Georgia Coalition for People’s Agenda,
Inc. v. Kemp, 347 F.Supp.3d 1251, 1268 (N.D. Ga. 2018) (finding that “Plaintiffs, as an
organization, will also suffer irreparable injury distinct from the injuries of eligible voters.
Without an injunction to address the citizenship verification procedure, Plaintiffs’ organizational
missions, including registration and mobilization efforts, will continue to be frustrated and
organization resources will be diverted to assist with the citizenship mismatch issue. Such


                                                50
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 51 of 67




v. Lee, 915 F.3d at 1321 (characterizing disenfranchisement by signature mismatch

rules as imposing a serious burden on the right to vote); League of Women Voters

of N.C. v. North Carolina, 769 F.3d 224, 244 (4th Cir. 2014) (“[E]ven one

disenfranchised voter—let alone several thousand—is too many.”); Common Cause

Georgia v. Kemp, 347 F. Supp. 3d 1270, 1295 (N.D. Ga. 2018) (“Plaintiff has shown

a substantial likelihood of proving that the Secretary's failure to properly maintain

a reliable and secure voter registration system has and will continue to result in the

infringement of the rights of the voters to cast their vote and have their votes

counted.”). The Court therefore finds that Coalition Plaintiffs have established a

substantial likelihood of prevailing on the merits of their claim that the State

Defendants’ failure to provide an updated paper pollbook as a backup in the event

of electronic equipment malfunctions, outages, or other emergency circumstances

and to provide adequate training to election superintendents and staff on the

implementation of its new voting system and emergency protocols unnecessarily

burdens the rights of Georgia voters.

       Defendants suggest there is no constitutional violation because voters have

the option to vote absentee to avoid problems with the pollbooks. However, the

evidence offered in this case and others in this district, of which the undersigned

takes judicial notice, demonstrates that Georgia’s absentee voting process also


mobilization opportunities cannot be remedied once lost.”); League of Women Voters of Fla. v.
Cobb, 447 F.Supp.2d 1314, 1339 (S.D. Fla. 2006) (finding irreparable harm to community
organizations engaged in collecting and submitting voter registration applications, where their
voter registration operations had been interrupted and they were losing valuable time to engage
in core political speech and association and to add new registrants to the election rolls).

                                              51
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 52 of 67




poses other risks of voter disenfranchisement. (See August 15, 2019 Order, Doc.

579 at 90, n. 71) (noting that Plaintiffs offered declarations from fourteen voters

who reported that they returned their absentee ballots by the deadline, but the

Secretary of State’s website indicates the ballot was not counted); see also New

Georgia Project v. Raffensperger, 1:20-cv-1986-ELR, August 31, 2020 Order, Doc.

134 at 57-58 (“Plaintiffs have shown that Georgia voters can be and have been

disenfranchised by the current receipt deadline through no fault of their own. [See,

e.g., Doc. 59-6 ¶ 6] (Plaintiff voter received her absentee ballot on the day before

Election Day). In 2018—a time free from the current complications of the COVID-

19 pandemic and related strains on voting infrastructure—over 3,500 absentee

ballots were rejected in Georgia for arriving after the Election Day receipt deadline.

[Doc. 59-1 at 4]. During the June 2020 Primary Election, the number of rejected-

as-late ballots doubled to 7,281. [Doc. 105-1 at 13]. This evidence suggests the

burden on many voters will be severe.”).

       The harm suffered by a voter in being turned away from the polls (or from

being shuffled into a provisional ballot process with no guarantee that their ballot

will be counted) is permanent. It is well-settled that an infringement on the

fundamental right to vote amounts in an irreparable injury. See Elrod v. Burns,

427 U.S. 347, 373 (1976) (plurality opinion) (The “loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.”); Martin v. Kemp, 341 F. Supp. 3d 1326, 1340 (N.D. Ga. 2018)

(“The Court finds that [p]laintiffs have established irreparable injury as a violation

                                         52
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 53 of 67




of the right to vote cannot be undone through monetary relief and, once the

election results are tallied, the rejected electors will have been disenfranchised

without a future opportunity to cast their votes.”); see also League of Women

Voters of N.C., 769 F.3d at 247 (“Courts routinely deem restrictions on

fundamental voting rights irreparable injury . . . [because] once the election occurs,

there can be no do-over and no redress. The injury to these voters is real and

completely irreparable if nothing is done to enjoin the law.”). And “of course,

voting alone is not enough to keep democracy’s heart beating. Legitimately cast

votes must then be counted.” Democratic Exec. Comm. of Florida v. Lee, 915 F.3d

at 1315 (finding that “[b]ecause of the way Florida has scheduled its election

process, some voters who submit a vote-by-mail ballot by the stated deadline are

not notified about a signature mismatch until after it is too late to demonstrate

their eligibility to vote” and “[a]s a result, their votes do not count, and they are

disenfranchised”).    And the Eleventh Circuit again recently recognized that

although “voters have no judicially enforceable interest in the outcome of an

election,” they do “have an interest in their ability to vote and in their vote being

given the same weight as any other.” Jacobson v. Florida Sec'y of State, --- F.3d -

---, 2020 WL 5289377, at *5 (11th Cir. Sept. 3, 2020).

      The burden faced by Plaintiffs and other voters can only be upheld as

constitutional if the State’s opposition to relief is justified by legitimate state

interests of sufficient weight. Where, as here the burden is severe, the State’s

justifications must be narrowly tailored and advance a compelling state interest.

                                         53
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 54 of 67




      The only interest put forward by the State Defendants to justify their refusal

to provide a reconciled and updated paper backup is a generic “interest in timely

and accurate administration of elections” and in the use of electronic pollbooks as

the primary method of determining voter eligibility. (Resp., Doc. 815 at 19-20.)

But Plaintiffs are not challenging use of electronic pollbooks. And Defendants do

not explain how the provision of an updated paper backup for use during

emergency situations where errors in the electronic system persist or pollbooks

become inoperable is inconsistent with their “interest in timely and accurate

administration of elections.” To the contrary, Plaintiffs’ evidence suggests that

such a backup would serve both the Defendants’ stated interests as well as the

constitutional interests advocated by Plaintiffs. The Secretary of State’s Election

Director testified at the hearing before this Court that he had no objection to

providing counties with the information necessary to prepare such an updated

paper backup. Richard Barron, Director of Registrations and Elections for Fulton

County, the county with the largest voter population in Georgia, similarly testified

that he had “no issue” with the paper pollbook relief request sought by Plaintiffs,

after having testified regarding the KnowInk PollPad operational failure in

multiple precincts in both the July and August 2020 elections that was identical to

that experienced in Dekalb and Clayton Counties. Barron testified that a paper

backup updated through the end of early voting would be helpful to eliminate the

need for poll workers to call the county election office during voting. (Vol. II, Tr. at

165) (“The more voters you have that are marked that have voted the fewer calls

                                          54
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 55 of 67




you – the precinct is going to have to make to your call center. That is what that

would eliminate.”); (Id. at 167) (“The more updated it [the list] it is I guess the

better – you know, the fewer calls they are going to have to have to make. . . . It also

would cut down the number of calls the poll managers would have to make to our

office.”). According to Barron’s hearing testimony, the information Plaintiffs seek

in paper form (which would match what is loaded into the electronic pollbooks),

“would make the list more accurate as to who has voted and who still is eligible to

vote if you do it at the end of early voting.” (Id. at 166.) And Mr. Barron further

stated that a solution to the PollPad and other related voting bottlenecks would be

to have multiple paper pollbooks in the precincts. (Id. at 168) (“I mean, that would

be the remedy. That way you could cut a line down pretty quickly if you have extra

paper pollbooks and you have ballots – emergency ballots.”).

      The State Defendants’ articulated opposition to relief is contradictory. On

the one hand, they assert that as supplemental voter lists are provided to the

counties which in turn provide such to the precincts, the Plaintiffs are requesting

an unenforceable “obey the law” injunction. On the other, they assert that the

requested relief would cause confusion and change the rules of the election by

calling for an entirely new protocol.       Of course, neither of these alternative

contentions are accurate. As laid out in the preceding sections, the registration

lists currently provided in paper do not show voting status (as should be reflected

in the updated information in the electronic pollbooks) and so they cannot be used



                                          55
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 56 of 67




in the same way for check-in and issuance of access cards to the voting machines

when the electronic pollbooks experience outages or malfunctions.

      Defendants contend that if a paper pollbook backup is required to adjudicate

voter eligibility, county election officials would be required to train poll workers on

an entirely new protocol. (Harvey Decl. ¶ 17.) To the contrary, Plaintiffs request

that, in the event problems with the PollPads arise, election workers should refer

to a paper copy of the pollbook that contains the same information that Mr. Harvey

represents is in the electronic pollbooks – updated information from the electors

list after the close of early voting during the three days prior to election day. And

because O.C.G.A. § 21-2-224(g) allows for the “official electors list” to include

information on whether a person has voted absentee, Plaintiffs’ requested

injunction does not request a change in the State’s election procedures, nor does it

impose a new procedure or requirement. See O.C.G.A. § 21-2-224(g) (providing

that the official electors list “prepared and distributed to the poll officers of each

precinct may also include codes designating that an elector has voted by absentee

ballot”) (emphasis added). As evidenced by the Secretary of State’s own training

manual, poll workers are currently trained to use a paper list of electors in the

precinct and are directed to refer to the paper list to keep processing voters if the

polling place loses power or the PollPads stop working. Thus, an order directing

poll workers to use a paper backup for voter check-in and processing would not be

a new protocol and would not require additional training. The only change would

be that the paper backup copy Plaintiffs request would be more complete and

                                          56
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 57 of 67




accurate than the current paper electors list and would mirror the information in

the e-pollbook. (Ex. B to Marks Decl., Doc. 802 at 27.) See also Poll Worker Manual

2020 Edition (updated April 2020) available on the Secretary of State’s website at

https://georgiapollworkers.sos.ga.gov/Shared%20Documents/Georgia%20Poll%

20Worker%20Training%20Manual.pdf.

      As further justification for opposing relief, Defendants assert that “a paper

printout of the updated electors list would not account for every voter’s status, as

absentee ballots are continuously being returned” and therefore “an updated

electors list could not adjudicate voter eligibility in all situations.”     But this

assertion acknowledges that an updated list can be used to properly adjudicate

voter eligibility for some voters and therefore does not justify denying relief merely

because an updated list might not capture every voter. (A poll manager, consistent

with current practice, would simply then call the County Elections Office to

confirm the voting status for a much smaller, select number of voters.).

      The Plaintiffs’ concrete, personal, and measurable injury from the potential

for imminent and arbitrary denial or burdening of access to the franchise, if in

error, far outweighs the State’s articulated concerns. See Common Cause Georgia

v. Kemp, 347 F. Supp. 3d 1270, 1296 (N.D. Ga. 2018) (finding “the threatened

injury to Plaintiff as an organization and the individuals who cast provisional

ballots as a result of irregularities in their voter registration status outweighs any

harm to Defendant from the imposition of the ordered injunctive relief”). Assuring

that all eligible voters are permitted to vote strengthens rather than undermines

                                         57
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 58 of 67




the integrity of the election process. See Democratic Exec. Comm. of Florida v.

Lee, 915 F.3d at 1325–26 (concluding that “the serious burden on voters outweighs

Florida’s identified interests: the state’s interest in preventing fraud is not in

conflict with the voters’ interest in having their legitimately-cast ballots counted;

the state has not shown that its interest in facilitating timely and orderly election

processing will be impaired by providing the injured voters with a reasonable

opportunity to have their votes counted; and public faith in elections benefits from

providing injured voters the opportunity to have their legitimately cast ballots

counted when the reason they were not counted was not the voters’ fault”); Martin,

341 F. Supp. 3d at 1340 (stating that the court “does not understand how assuring

that all eligible voters are permitted to vote undermines [the] integrity of the

election process. To the contrary, it strengthens it”).

       The Court is not persuaded by Defendants’ assertions that the relief

requested by Plaintiffs would be too burdensome to implement in advance of the

November elections.20 Provision of the updated information in electronic format

to each county election superintendent with directions that they print and

distribute the paper backup to each precinct would only impose a minimal burden

on Defendants. According to the Dominion/KnowInk documents in Georgia’s

Request for Proposal, the KnowInk ePulse application can print voter rolls for the



20 Although Mr. Harvey characterizes the “process for printing and separating by precinct the
official list of electors” as “time consuming because it requires printing and distributing the
individual lists to each of the 159 counties,” he also admits that the Secretary of State contracts
this process out to a third-party vendor. (Harvey Decl., Doc. 815-1 ¶ 6.)

                                                58
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 59 of 67




pollbook and “update voter rolls minutes before an election.” (Marks Decl., Doc.

755 at 16; Ex. E to Marks Decl., at 3, 7, Doc. 755 at 45-71.)21 Alternatively, the State

can generate the information from ENET and distribute the reports to the counties

for printing as it already does with the supplemental list.

       The State Election Board’s regulation on the pollbooks and paper backup,

already requires that “the paper backup list shall be used in case the electronic poll

books do not properly function” and that “poll workers to be adequately trained in

checking in voters on both electronic poll books and paper backup list.”22 Ga.

Comp. R. & Regs. 183-1-12-.19(1). See Martin, 341 F. Supp. 3d at 1339–40

(“Because many of the procedures Plaintiffs request are already in place, the Court

finds that additional procedures would involve minimal administrative burdens

while still furthering the State’s asserted interest in maintaining the integrity of its

elections.”).

       The public will be served by this injunction. The “cautious protection of the

Plaintiffs’ franchise-related rights is without question in the public interest.”

Charles H. Wesley Educ. Found., Inc. v. Cox, 408 F.3d 1349, 1355 (11th Cir. 2005).

Georgia voters have an interest in ensuring their votes are counted. Common


21 Exhibit E to the Marks Declaration is a copy of the technical specifications as set forth in the
RFP, as posted on the Secretary of State’s website.
22 Pursuant to Georgia law, the Secretary of State is the chief election official for the State.

O.C.G.A. 21-2-50(b). As the chief election official, the Secretary has the power and authority to
manage Georgia’s election system. Id. The Secretary of State is the Chair of the State Election
Board. The State Election Board is the governmental body responsible for uniform election
practice in Georgia. O.C.G.A. 21-2-31. Both the Secretary and the State Election Board have
significant statutory authority to direct training of local election officials and set election
standards. Thus, State Defendants bear the responsibility to ensure adequate training on their
new chosen system to avoid burdening the rights of the State’s voters.

                                                59
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 60 of 67




Cause Georgia, 347 F. Supp. 3d at 1300 (recognizing the “fundamental importance

of the interest of voters”); Obama for Am. v. Husted, 697 F.3d 423, 437 (6th Cir.

2012) (“The public interest therefore favors permitting as many qualified voters to

vote as possible.”); see also Madera v. Detzner, 325 F. Supp. 3d 1269, 1283 (N.D.

Fla. 2018) (“The public interest is always served by more equitable, easier access

to the ballot.”). The Eleventh Circuit has also held that the knowledge that

otherwise-eligible voters were not counted “would be harmful to the public’s

perception of the election’s legitimacy,” and that “the public interest is served when

constitutional rights are protected.” Democratic Exec. Comm. v. Lee, 915 F.3d at

1327.

        Finally, the Court dispels the notion put forward by the State Defendants

that this Court is not authorized to provide any relief when an approaching election

is on the horizon, even when the relief is narrowly tailored and aligned with the

state’s own procedures. First, Plaintiffs’ claims and remedial requests here do not

invite the Court to “supervise the administrative details of a local election,” as

criticized by the Eleventh Circuit in Curry v. Baker. Curry v. Baker, 802 F.2d 1302,

1314 (11th Cir. 1986). Unlike the state election vote tabulation contest at issue in

Curry, Plaintiffs’ current motion is brought in connection with a Federal

Congressional and Presidential election. See id. at 1304-05 (“Subject to specific

exceptions, federal courts should not be involved in settling state election disputes.

Sound reasons grounded in both law and public policy establish that far better

forums for disputes involving elections to state offices are found in the party

                                         60
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 61 of 67




machinery and the court system of the affected state.) Moreover, Plaintiffs’

challenge in connection with this claim concerns the Secretary of State’s failure to

address the security and reliability vulnerabilities in its voter registration data

systems and infrastructure supporting its voting system over a sustained period of

time in multiple election cycles that continues to burden and threaten their ability

to exercise the franchise as recently demonstrated in the State and Federal primary

elections. As the Eleventh Circuit itself recognized in Curry, “[i]n evaluating

claims arising from ‘episodic events,’ courts have followed the general rule that ‘if

the election process itself reaches the point of patent and fundamental unfairness,

a violation of the due process clause may be indicated and relief under § 1983

therefore in order.’” Id. at 1315 (quoting Duncan v. Poythress, 657 F.2d 691, 703

(5th Cir. Sept. 28, 1981).23 Indeed, as this Circuit Court has recognized,

       Federal courts have properly intervened when the attack was,
       broadly, upon the fairness of the official terms and procedures under
       which the election was conducted. The federal courts were not asked
       to count and validate ballots and enter into the details of the
       administration of the election. Rather they were confronted with an
       officially-sponsored election procedure which, in its basic aspect,
       was flawed. Due process, representing a profound attitude of fairness
       between man and man, and more particularly between individual and
       government, is implicated in such a situation.

Duncan, 657 F.2d at 703 (internal citations omitted) (emphasis added). This is

one of those cases. Bush v. Gore, 531 U.S. 98, 111 (2000) (“None are more

conscious of the vital limits on judicial authority than are the Members of this


23 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh
Circuit adopted as binding precedent all of the decisions of the former Fifth Circuit rendered prior
to the close of business on September 30, 1981.

                                                61
         Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 62 of 67




Court, and none stand more in admiration of the Constitution's design to leave the

selection of the President to the people, through their legislatures, and to the

political sphere. When contending parties invoke the process of the courts,

however, it becomes our unsought responsibility to resolve the federal and

constitutional issues the judicial system has been forced to confront.”). The

Fourteenth        Amendment          due      process      clause      protects      against      “the

disenfranchisement of a state electorate,” and “forbids state officials from

unlawfully eliminating that fundamental right.” Duncan, 657 F2d. at 704, 708.

       Second, with election day six weeks away, it is not too late to order relief to

address the potential for unnecessarily burdening and eliminating the rights of

voters by mandating the use of emergency backup procedures in a meaningful

manner.24

       The Court’s remedy is narrowly tailored and manageable within the

framework of the current system without any major changes required of the

Secretary of State or local election superintendents. The remedy’s conformity with

the overall regulatory scheme guards against any risk of confusion. Plaintiffs have

been seeking this relief for a long time, and their pleas have fallen on the State’s

deaf ears.        Accordingly, the relief here is necessary to prevent voter

disenfranchisement and to ensure timely (in case of lines/delays) and accurate (up




24See O.C.G.A. § 21-2-224(f) (“The official list of electors eligible to vote in any primary or election
shall be prepared and completed at least five calendar days prior to the date of the primary or
election in which the list is to be used.”) (emphasis added).

                                                  62
       Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 63 of 67




to date information on eligibility and qualification of voters) administration of the

election.

IV.   Remedy

      As explained above, the Court finds that Plaintiffs are likely to succeed on

the merits of their claim regarding the security and reliability of the voter

registration database and electronic pollbook system, that they will be irreparably

harmed if deprived of their right to vote, that the balance of equities weigh in

Plaintiffs’ favor, and that an injunction is in the public interest. See Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); see also Purcell v. Gonzalez, 549

U.S. 1, 4 (2006) (The public has a “strong interest in exercising the fundamental

political right to vote.”); League of Women Voters of N.C. v. North Carolina, 769

F.3d 224, 247-48 (4th Cir. 2014) (“By definition, [t]he public interest ... favors

permitting as many qualified voters to vote as possible.’”) (quoting Obama for Am.

v. Husted, 697 F.3d 423, 437 (6th Cir. 2012); Madera v. Detzner, 325 F. Supp. 3d

1269, 1283 (N.D. Fla. 2018) (“The public interest is always served by more

equitable, easier access to the ballot.”).

      The evidence the Coalition Plaintiffs provided in support of their motion

demonstrates a system wide problem of malfunctioning electronic PollPads

beginning with the November 2019 pilot elections, again in the June 2020 primary

election, and most recently in the August 2020 runoff elections in tandem with

wholly inadequate backup plans and voter registration data deficiencies that




                                             63
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 64 of 67




resulted in voter disenfranchisement and that is likely to continue in the upcoming

Federal Presidential election.

       Accordingly, the Court GRANTS the Coalition Plaintiffs’ Motion [Doc. 800]

and issues the following preliminary injunctive relief set forth below.25

       UNTIL FURTHER ORDER OF THIS COURT:

       Effective immediately, the Secretary of State shall generate and transmit to

each county election superintendent at the close of absentee in-person early voting

an updated electors list in a format capable of printing by the election

superintendent that includes all of the information located in the electronic

pollbook.26     The Secretary of State shall further direct every county election

superintendent (1) to print and provide at each polling place at least one paper

back-up of the pollbook for use on Election Day, which paper back-up shall be



25 The Court finds that it is appropriate to waive the requirement under Rule 65(c) that Plaintiffs
post security. See New Georgia Project v. Raffensperger, 1:20-cv-1986-ELR, August 31, 2020
Order, Doc. 143 at 67 n.33 (granting in part plaintiffs’ motion for preliminary injunction and
waiving bond requirement); Georgia State Conference NAACP v. Georgia, 1:17-CV-1397-TCB,
2017 WL 9435558, at *5 (N.D. Ga. May 4, 2017); Complete Angler, LLC v. City of Clearwater, 607
F. Supp. 2d 1326, 1335 (M.D. Fla. 2009) (“Despite the mandatory nature of [Rule 65(c)’s]
language, federal courts have come to recognize that the district court possesses discretion over
whether to require the posting of security. Waiving the bond requirement is particularly
appropriate where a plaintiff alleges the infringement of a fundamental constitutional right.”)
(internal punctuation and citation omitted).
26 Consistent with O.C.G.A. § 21-2-224(b) and State Election Board Rule 183-1-12-.19(8), this list

must include accurate information regarding all persons who have been issued or cast absentee
ballots during the advanced/early voting period prior to election day. See O.C.G.A. § 21-2-224(b)
(“The registrars shall, prior to the hour appointed for opening the polls, place in the possession of
the managers in each precinct one copy of the certified electors list for such precinct, such list to
contain all the information required by law. The list shall indicate the name of any elector who
has been mailed or delivered an absentee ballot.”); Ga. Comp. R. & Regs. 183-1-12-.19(8) (“Prior
to delivery to a polling place, the election superintendent or registrars shall cause the electronic
poll books to accurately mark all persons who have been issued or cast absentee ballots in the
election.”). The Secretary may generate this information directly from the PollPads or from ENET
and the Absentee Voter Report referenced in their filing at Doc. 895.

                                                 64
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 65 of 67




updated after the close of absentee in-person voting (early voting); (2) to use the

paper back-up of the pollbook in the polling place to attempt to adjudicate voter

eligibility and precinct assignment in the event of equipment malfunction or an

emergency as defined by Ga. R. & R. 183-1-12.11(2)(d);27 (3) to allow voters who

are shown to be eligible electors on the paper pollbook backups who are not shown

on the updated list as having requested an absentee mail-in ballot to cast a regular

emergency ballot that is not to be treated as a provisional ballot; (4) to allow voters

who are shown to be eligible electors on the paper pollbook backups but who are

shown on the updated list as having requested an absentee mail-in ballot to have

their absentee ballot canceled28 and to cast a regular or emergency ballot that is

not to be treated as a provisional ballot, provided that such voter either surrenders

the absentee ballot to the poll manager of the precinct or in the case of a voter who

has requested but not yet received their absentee ballot completes an elector’s

oath29 affirming the voter has not marked or mailed an absentee ballot for voting

in such primary or election; (4) to take every reasonable measure to ensure that

county election officials and poll workers are trained as to how to generate and use

paper pollbook backups and emergency ballots and handle the casting and

counting of emergency votes in conformity with this Order directly as emergency


27 The State Election Board’s Emergency Rule, Ga. R. & R. 183-1-12.11(2)(d), defines the types of
events that may be considered emergencies as “power outages, malfunctions causing a sufficient
number of electronic ballot markers to be unavailable for use, or waiting times longer than 30
minutes.”
28 See O.C.G.A. § 21-2-388 (providing for cancellation of absentee ballots and permitting voters

to cast votes in person upon cancellation); see also Ga. Comp. R. & Regs. 183-1-14-.06 (regarding
procedures for spoiled absentee ballots).
29 See O.C.G.A. § 21-2-384.


                                               65
         Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 66 of 67




ballots, if necessary; and (5) maintain a sufficient stock of emergency paper

ballots.30 While the Court has ordered that a minimum of one paper pollbook

backup should be made available for each polling place, it is likely that more than

one copy would be needed in large precincts per the testimony of Fulton County’s

Director of County Registration and Elections.                      As precincts vary in size

enormously across the counties and the State, the Court FURTHER ORDERS

that the Secretary of State direct all local election superintendents to evaluate the

need for issuance of additional copies of the pollbook backup printouts as back-

up tools for precincts based on the number of registered voters in each county

precinct or polling location and to promptly advise the County Registrar's Office of

the number of such additional copies needed.

V.     Conclusion

       For the reasons set forth above, the Court GRANTS the Coalition Plaintiffs’

Motion for Preliminary Injunction on Paper Pollbook Backups, [Doc. 800]

(supported by the Curling Plaintiffs) and the relief requested, as more specifically

set forth herein. The narrowly tailored relief ordered directs that the State

Defendants provide at least a modicum of the voting backup plan tools essential to


30 This relief is consistent with State Election Board Rule 183-1-12-.19(1) that requires that election

superintendents equip each polling place with the electronic pollbooks, a paper backup list, and
ensure that “poll workers [] be adequately trained in checking in voters on both electronic poll
books and paper backup list.” Ga. Comp. R. & Regs. 183-1-12-.19(1); see also Ga. Comp. R. & Regs.
183-1-12-.11(2)(c) (providing that the “election superintendent shall cause each polling place to
have a sufficient amount of emergency paper ballots so that voting may continue uninterrupted if
emergency circumstances render the electronic ballot markers or printers unusable. For any
primary or general election for which a state or federal candidate is on the ballot, a sufficient
amount of emergency paper ballots shall be at least 10% of the number of registered voters to a
polling place”).

                                                  66
        Case 1:17-cv-02989-AT Document 918 Filed 09/28/20 Page 67 of 67




protecting voters’ constitutionally protected ability and right to cast a ballot that is

counted and given the same weight as any other on this coming November 3rd

general election day and thereafter.31 It is not too late for Defendants to take these

reasonable concrete measures to mitigate the real potential harms that would

otherwise likely transpire at precinct polling locations grappling with the boiling

brew created by the combination of new voting equipment issues and old voter

data system deficiencies.


       IT IS SO ORDERED this 28th day of September, 2020.


                                              ____________________________
                                              Honorable Amy Totenberg
                                              United States District Judge




31 This relief is also consistent with the advice of the Department of Homeland Security. As
reported by the New York Times in an article yesterday, Christopher Krebs, who runs the
Cybersecurity and Infrastructure Security Agency for the Department of Homeland Security
“noted that the agency [i]s trying to make sure local election officials printed out their electronic
poll books, which are used to check in voters, so that they ha[ve] a backup.” Nicole Perlroth and
David E. Sanger, Ransomware Attacks Take on New Urgency Ahead of Vote, The New York Times,
September 27, 2020, available at https://www.nytimes.com/2020/09/27/technology/2020-
election-security-threats.html?referringSource=articleShare.

                                                 67
